14 F.3d 49
    Shull (Edward B., Jr.)v.Borough of Wilson, Wilson Borough Civil Service CommissionBoard, Miller (Edward), Perruso (David), Slifer (William),Whilden (Jack), Neiser (Mark), Beck (Janice), Tomaino(Gary), Dunn (Kenneth, Jr.), Shug (David), Starniri (Louis),Siegfried (Calvin)
    NOS. 93-1202, 93-1244
    United States Court of Appeals,Third Circuit.
    Nov 05, 1993
    
      Appeal From:  E.D.Pa.,
      Troutman, J.
    
    
      1
      DISMISSED.
    
    